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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

   BYTEMARK, INC..,                               §
                                                  §
              Plaintiff,                          §
                                                  §
      vs.                                         §     Civil Action No. 2:16-cv-00543-JRG/RSP
                                                  §
   MASABI LTD.,                                   §     JURY TRIAL DEMANDED
                                                  §
              Defendant.                          §


                 OPPOSED PLAINTIFF’S MOTION FOR STATUS CONFERENCE

            Bytemark, Inc. (“Bytemark”) Plaintiff in the above-entitled and numbered civil action,

   moves the Court to set a status conference and shows as follows:

            1.      Pursuant to the Court’s Order (Doc. No. 132) entered on October 24, 2017, this

   action was removed from the Court’s December 4, 2017 trial docket, to be reset at a status

   conference scheduled for December 11, 2017. This Order also indicated that all docket control

   order deadlines that had not yet expired were to be reset at the December 11 status conference.

            2.      On December 11, 2017, the Court issued a CM/ECF Notice cancelling the

   December 11 status conference, to be reset by a future order.

            3.      On February 14, 2018, the Court entered an Order (Doc. No. 137) staying this

   action pending further order of the Court.

            4.      Bytemark respectfully requests the Court to schedule a status conference in this

   action so it may be determined when and under what circumstances a lift of the Court’s stay order

   would be indicated or appropriate. In addition, Bytemark requests a status conference to discuss

   potential entry of an amended Docket Control Order to govern this action once the Court’s stay
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   order is lifted. The parties collectively have a number of motions currently pending in this action,

   most of which had not been fully briefed at the time the Court’s entered its October 24, 2017 order.

   Bytemark believes that an amended docket control order will be needed to set new deadlines for

   completion of the briefing on the parties’ pending motions and other pretrial related filings and to

   reset this action for jury selection and trial.

           PREMISES CONSIDERED, Plaintiff Bytemark, Inc. respectfully requests the Court to

   grant this Motion for Status Conference.

           Dated: March 29, 2018

                                                     Respectfully submitted,




                                                     Dariush Keyhani, Lead Attorney
                                                     New Jersey State Bar No. 044062002
                                                     Admitted pro hac vice
                                                     MEREDITH & KEYANI, PLLC
                                                     125 Park Avenue, 25th Floor
                                                     New York, NY 10017
                                                     Telephone: (212) 760-0098
                                                     Email: dkeyhani@meredithkeyhani.com

                                                     Andy Tindel
                                                     Texas State Bar No. 20054500
                                                     MT2 LAW GROUP
                                                     MANN | TINDEL | THOMPSON
                                                     112 East Line Street, Suite 304
                                                     Tyler, Texas 75702
                                                     Telephone: (903) 596-0900
                                                     Facsimile: (903) 596-0909
                                                     Email: atindel@andytindel.com

                                                     Attorneys for Plaintiff Bytemark, Inc.




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                               CERTIFICATE OF CONFERENCE

          In compliance with E.D. Tex. Loc. Ct. R. CV-7(h), undersigned counsel for Plaintiff

   Bytemark, Inc. and Kasia Brozynski, counsel for Defendant Masabi Ltd., communicated by

   telephone on March 29, 2018 with respect to Plaintiff’s Motion for Status Conference. The parties

   could not reach agreement on the motion and discussions have conclusively ended in an impasse,

   leaving an open issue for the court to resolve.     Accordingly, Plaintiff’s Motion for Status

   Conference is submitted as an opposed motion.




                                               Andy Tindel



                                  CERTIFICATE OF SERVICE

          This is to certify that all known counsel of record who are deemed to have consented to

   electronic service are being served with a copy of this document via the Court’s CM/ECF system

   per E. Dist. Tex. Loc. Ct. R. CV-5(a)(3) on this the 29th day of March, 2018. Any other known

   counsel of record will be served with a copy of this document by email and/or facsimile

   transmission




                                               Andy Tindel




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